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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.      18-08211-MATTHEWMAN

 UNITED STATES OF AMERICA,
               Plaintiff,

 vs.

 JOHN JOSEPH O’GRADY,
                   Defendant.
 ________________________________/

                            NOTICE OF ASSIGNMENT

       The above captioned case has been assigned to the Assistant Federal Public

 Defender specified below. Please send all notices and inquiries to this attorney at the

 address listed.

                                         Respectfully submitted,

                                         MICHAEL CARUSO
                                         Federal Public Defender

                                         s/ Peter Birch
                                         Peter Birch
                                         Assistant Federal Public Defender
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                             CERTIFICATE OF SERVICE


       I HEREBY certify that on May 10, 2018, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.           I also certify that the

 foregoing document is being served this day on all counsel of record via transmission

 of Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically

 Notices of Electronic Filing.


                                        s/ Peter Birch
                                        Peter Birch




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